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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA




                                                          Civil Action No. 1:21-cv-22441-RNS-JG


   DONALD J. TRUMP, the Forty-Fifth President
   of the United States, LINDA CUADROS,
   AMERICAN CONSERVATIVE UNION,
   RAFAEL BARBOZA, DOMINICK LATELLA,
   WAYNE ALLEN ROOT, AND NAOMI WOLF,
   INDIVIDUALLY AND ON BEHALF OF
   THOSE SIMILARLY SITUATED,

                    Plaintiffs,

               v.

   TWITTER, INC., and JACK DORSEY,

                    Defendants.




           PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
      TO FILE RESPONSE TO DEFENDANT TWITTER’S MOTION TO TRANSFER

         Plaintiffs, Donald J. Trump, Linda Cuadros, American Conservative Union, Rafael

  Barboza, Dominick Latella, Wayne Allen Root, Naomi Wolf, individually and on behalf of those

  similarly situated, hereby move this Honorable Court for an unopposed extension of time to file

  Plaintiffs’ Response to the Motion to Transfer (“Motion”) filed by Defendant Twitter, Inc.

  (“Twitter”), and state as follows:

     1. In its Motion, Twitter seeks to transfer this action to the Northern District of California.

     2. Twitter’s motion addresses the applicability of its terms of service (“TOS”) and, in

         particular, the forum selection clause contained therein.
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     3. Twitter’s Motion necessarily involves issues of meaningful complexity and considerable

         importance for this case.

     4. Undersigned counsel has communicated with counsel for Twitter regarding an extension

         of time to respond.

     5. Undersigned and counsel for Twitter have each agreed to extend the response and reply

         periods by seven (7) days.

     6. As Twitter’s Motion was filed on September 1, 2021, Plaintiffs are moving this Court to

         extend the deadline for the response from September 15, 2021, to September 22, 2021.

     7. The date for Twitter’s reply would in turn be extended seven (7) days, this moving its reply

         from September 30, 2021 to October 7, 2021.

     8. Undersigned counsel has conferred with Defendant’s counsel, who confirmed that this

         motion for an extension of time is unopposed.

     9. This is Plaintiffs’ first requested extension regarding same.

         WHEREFORE, Plaintiffs respectfully request that this Honorable Court grant an extension

  of time of seven (7) days, up to and including September 22, 2021, to file the response, and an

  extension of seven days, up to and including October 7, 2021, for Twitter to file its reply, and for

  such other and further relief as the Court deems appropriate.

                                                Respectfully submitted,


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                           LOCAL RULE 7.1(a)(3) CERTIFICATION

         In accordance with Local Rule 7.1(a)(3), Plaintiff’s counsel has conferred with Defendants’

  counsel regarding this motion. Twitter’s counsel has advised that they have no objection to the

  requested additional time for the response and reply.

                                               By:    /s/ Matthew Lee Baldwin
                                                      Matthew L. Baldwin, Esq.


                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 8, 2021, a true and correct copy of the foregoing was

  electronically filed with the Clerk of the Court using CM/ECF and electronically provided to all

  Counsel of Record registered for service of same.

                                               By:    /s/ Matthew Lee Baldwin
                                                      Matthew L. Baldwin, Esq.
